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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

    DONALD AGEE, JR., an individual, et
    al.,
                                            Case No. 1:22-cv-00272
                Plaintiffs,
                                            Three-Judge Panel Appointed
    v.                                      Pursuant to 28 U.S.C. § 2284(a)

    JOCELYN BENSON, in her official
    capacity as the Secretary of State of
    Michigan, et al.,

                Defendants.




         PLAINTIFFS’ SUPPLEMENTAL BRIEF ON PROPOSED REMEDY
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                                    INTRODUCTION

         The Court’s December 21, 2023, opinion recognized that the Commission

   flagrantly disenfranchised Black voters by drawing legislative districts based

   predominantly on race in violation of the Equal Protection Clause. (ECF No. 131, the

   “Opinion”). Accordingly, the Court invalidated 13 Michigan Senate and House

   districts with extraordinarily low BVAPs and directed the parties to brief the

   appropriate remedy.

         The Court should appoint a special master to draw revised maps for the

   beleaguered Commission. Just since the Opinion’s issuance, three Commissioners

   resigned as did the Commission’s VRA counsel. Two Commissioners lodged ethics

   complaints and initiated investigations against each other. This led Chair Szetela to

   request this Court’s protection from retaliation for her truthful trial testimony. When

   it came time to adopt a strategy for moving forward at a recent public meeting, the

   Commission could not cobble together a quorum to hold a vote because multiple

   Commissioners did not return after a closed session. The Commission and its

   members appear more intent on cannibalizing each other than functioning as a

   cohesive group to draw a set of acceptable maps.

         Soon, three new Commission members will be drawn from a hat and thrown

   into an urgent map-drawing process with no VRA counsel and zero training, com-

   pared to the entire year of rigorous training the Commission received before drawing

   a single map—one that, notably, still got it wrong. It is unrealistic to ask the Commis-

   sion to adopt compliant maps given its disarray and the need for expediency.



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             As established at trial, the Commissioners require professional guidance to

       draw legally compliant maps. Election deadlines are looming, and the Secretary of

       State admitted in her post-trial brief that she is already several weeks behind in

       election preparation. Worse, numerous Commissioners have shown no remorse for

       the harm they caused to the citizens of Detroit or for the $5 million of taxpayer money

       they lavished on defense counsel to preserve their unconstitutional actions.

             The only solution in these unique circumstances is the appointment of a special

       master to serve as an expert cartographer with input from both sides. The Secretary

       of State, metro-Detroit voters, and political candidates alike all need to know the

       district lines to prepare for the upcoming election, and a special master will ensure

       that everyone’s interests are protected and propose a map within a matter of weeks.

             The Court’s remedial order should also mandate a special election for the State

       Senate—which would ordinarily not occur until 2026—alongside the House election

       set to take place in the fall of 2024. Plaintiffs and hundreds of thousands of similarly

       situated Black voters in Detroit have been disenfranchised since the faulty maps were

       first used in the 2022 election. Every day that passes further violates their constitu-

       tional rights. A special election will remedy that ongoing violation.

                                           ARGUMENT

  I.      The Court Should Appoint a Special Master to Assist the Commission.

             “Redistricting is primarily the duty and responsibility of the State[.]” Abbott v.

       Perez, 138 S. Ct. 2305, 2324 (2018) (quotations omitted). But “when those with [such]

       responsibilities do not respond” or when “the imminence of a state election makes it



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   impractical for them to do so,” it becomes the “unwelcome obligation” of the federal

   court to devise a reapportionment plan. Wise v. Lipscomb, 437 U.S. 535, 540 (1978);

   Chapman v. Meier, 420 U.S. 1, 27 (1975) (when a redistricting body fails in its task,

   “the responsibility falls on the District Court and it should proceed with dispatch to

   resolve this seemingly interminable problem”).

         Appointment of a special master is a common remedy in redistricting cases.1

   E.g., Bethune-Hill et al. v. Virginia State Board of Elections, 368 F. Supp. 3d 872, 877

   (E.D. Va. 2019); Singleton v. Allen, __ F. Supp. 3d __, 2023 WL 5691156 (Dec. 5, 2023,

   N.D. Ala.) (“The Supreme Court has since held that a district court does not abuse its

   discretion by ordering a Special Master to draw a remedial map to ensure that a plan

   can be implemented as part of an orderly process in advance of election”) (citation

   omitted); Personhuballah v. Alcorn, 155 F. Supp. 3d 552, 555–56 (E.D. Va. 2016)

   (appointing special master after district found to be a racial gerrymander in violation

   of the Equal Protection Clause).

         The Court need not give the original redistricting body a second bite at the

   apple before appointing a special master. North Carolina v. Covington, 138 S. Ct.



   1 Federal Rule of Civil Procedure 53(a)(1) provides “[u]nless a statute provides
   otherwise, a court may appoint a master only to: (A) perform duties consented to by
   the parties; (B) hold trial proceedings and make or recommend findings of fact on
   issues to be decided without a jury if appointment is warranted by: (i) some exception-
   al condition; or (ii) the need to perform an accounting or resolve a difficult computa-
   tion of damages; or (C) address pretrial and posttrial matters that cannot be effective-
   ly and timely addressed by an available district judge or magistrate judge of the
   district.” “Preparing a timely and suitable plan of congressional districts thus pre-
   sents an exceptional condition that requires the appointment of a Special Master to
   assist the Court.” Rodriguez v. Pataki, 207 F.Supp.2d 123 (S.D.N.Y., April 25, 2002).

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   2548, 2553–54 (2018) (rejecting defendant’s argument that the district court “abused

   its discretion by arranging for the special master to draw up an alternative remedial

   map instead of giving the General Assembly—which ‘stood ready and willing to

   promptly carry out its sovereign duty’—another chance at a remedial map,” because

   the court “had its own duty to cure illegally gerrymandered districts through an

   orderly process in advance of elections” and “‘providing the General Assembly with a

   second bite at the apple’ risked ‘further draw[ing] out these proceedings and

   potentially interfer[ing] with the 2018 election cycle”).

         While the Court’s order inquired whether a special master should “assist” the

   Commission but not “necessarily draw the maps,” the circumstances here are

   unprecedented. Commission members are resigning in droves and engaged in

   infighting. Accordingly, Plaintiffs request the Court enlist a special master to work

   collaboratively with the parties to the extent possible but to also have veto power over

   the Commission (Ex. A, Proposed Appointment Order). As shown below, the record is

   replete with support for such a remedy.

         (1) The Chaotic Commission Is In No Position to Draw New Maps.

         As the last two weeks show, the Commission is cratering and in no position to

   draw new maps that would give the Secretary of State and candidates sufficient time

   to prepare for the April primary deadline. For example:

             a. Commissioners Dustin Witjes, Douglas Clark and M.C. Rothhorn have
                all resigned.2


   2 https://www.detroitnews.com/story/news/local/michigan/2023/12/26/3-redistricting-

   commissioners-to-be-replaced-following-resignations/72033554007/, last visited Dec.
   31, 2023.

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            b. Commissioner Anthony Eid is under investigation for allegedly
               tailoring maps to benefit two of his personal friends who were running
               for office. His future involvement in the Commission is uncertain.3
            c. Eid had previously been investigated by the Commission for taking a job
               with a non-profit who bragged on its website: “Our Democracy
               Workgroup partners engaged with MICRC right up until they approved
               the final maps. On multiple occasions, the MICRC changed course and
               edited their maps in real-time, directly impacted by our partners’ public
               comments[.]”4 After the maps were complete, the non-profit offered Eid
               a job, though he resigned from the position after accepting it in the wake
               of the Commission’s investigation.
            d. Commission Chair Szetela has publicly objected to Eid’s involvement in
               any future map-drawing because “there’s a pretty strong contingent of
               commissioners who frankly feel that (Eid) should never touch one of our
               maps again.” (Ex. C, Gongwer Article dated 12/18/23).
            e. In response, Eid “liked” a third-party post with a photo of Chair Szetela
               reading: “Michigan Redistricting Commission needs to draw the new
               maps, then self-destruct. I’m sick of these people. Time to get real jobs.”
               (Ex. D, Eid Post).
            f. On his way out the door, Commissioner Witjes served an official notice
               upon the Secretary of State seeking to have Chair Szetela’s seat deemed
               vacant for “undermining” the Commission with her truthful testimony
               to this Court. This retaliatory act prompted Szetela to seek this Court’s
               protection. (Ex. E, 12/27/23 Letter to Panel).
            g. Despite resigning, Commissioner Witjes showed up at the Commission
               meeting held the following week on December 28th to reiterate publicly
               that his letter seeking Chair Szetela’s removal for “sabotage” was proper
               despite his resignation. He also openly urged the Commission to “appeal
               and appeal hard” this Court’s ruling.5


   3  “Redistricting Commissioners Claim Colleague Tailored Maps for Candidates”
   Detroit               News,            December                16,             2023,
   https://www.detroitnews.com/story/news/politics/2023/12/16/redistricting-
   commissioners-claim-colleague-tailored-maps-for-candidates/71934006007,          last
   visited Dec. 29, 2023.
   4   https://www.wkar.org/wkar-news/2023-07-05/redistricting-commission-members-
   new-job-raises-ethics-questions (emphasis added); see also Trial Tr.III.151,
   PageID.2942.
   5 “Divided Michigan redistricting commission unable to act after three members leave

   early”        Detroit       Free      Press,        December          28,      2023,
   https://www.freep.com/story/news/politics/elections/2023/12/28/redistricting-
   commission-divided-court-ruling-appeal/72049321007/, last visited Jan. 1., 2024.

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               h. On December 28, 2023—at the most recent public meeting—the
                  Commission’s VRA legal counsel, Bruce Adelson, abruptly resigned,
                  effective December 29.6 The Commission’s former General Counsel
                  Julianne Pastula had already resigned in 2022 following the lawsuit in
                  which the Michigan Supreme Court ordered the closed-door meeting
                  audio be disclosed to the public.7 Neither position has been filled.
               i. The Commission held a special meeting to vote on whether to appeal the
                  Court’s Opinion. But after returning from a lengthy closed-door session,
                  it could not muster a quorum to hold the necessary vote because so many
                  members left the meeting early.8

           In short, the Commission is dysfunctional and incapable of quickly drawing

   legally compliant district maps. And even if the Commission could draw new maps

   quickly, the Michigan Constitution (though not this Court) requires the Commission

   to hold time-consuming public hearings across the State before voting to approve the

   maps. Mich. Const. Art. IV, § 6(8)-(10). A Court-ordered map is the only realistic

   solution.

           (2) New Commissioners Are Entirely Unprepared to Participate and
               the Commission’s Experts Are Either Incompetent or Have
               Resigned, Necessitating Outside Professional Expertise.

           In response to the resignations, Secretary Benson announced that three new

   Commissioners would be chosen on January 3, 2024, via random selection.9 That




   6 Id.
   7 “Michigan redistricting panel’s top attorney quits amid two court challenges” The

   Bridge-Michigan,      January    26,   2022,     https://www.bridgemi.com/michigan-
   government/michigan-redistricting-panels-top-attorney-quits-amid-two-court-
   challenges, last visited January 1, 2024.
   8 “Divided Michigan redistricting commission unable to act after three members leave

   early”        Detroit       Free       Press,        December         28,      2023,
   https://www.freep.com/story/news/politics/elections/2023/12/28/redistricting-
   commission-divided-court-ruling-appeal/72049321007/, last visited Jan. 1., 2024
   9 https://www.michigan.gov/sos/resources/news/2023/12/26/michigan-department-of-

   state-to-host-random-selection-on-jan-3, last visited December 27, 2023.

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   means a quarter of this Commission is brand new and uneducated in the map-making

   process. The training provided to the current Commissioners was extensive—as it

   should be, since none of them had any redistricting background.

         The original Commissioners received more than 35 distinct educational

   sessions covering the Commission’s conflict of interest policies, how to comply with

   FOIA and the Open Meetings Act, what the governing criteria are under the Michigan

   constitution, Voting Rights Act compliance, Communities of Interest definitions, how

   to analyze census data, how to use the electronic mapping software, how to evaluate

   partisan fairness metrics, and the like. (Ex. F, Training Sessions). Presenters ranged

   from legal experts to statisticians to political scientists to representatives from the

   Attorney General’s office to more than a dozen academics. Id. This intense training

   spanned an entire year. Id. Only then did the Commissioners even start the map-

   drawing process, and they still got it wrong.

         By January 3rd, nearly a quarter of the Commission will be brand new and lack

   the dozens (if not hundreds) of hours of training the rest of the Commissioners had.

   Yet they will be expected to complete an emergency map-drawing process. Plus, the

   Commission also now lacks both a General Counsel and VRA counsel, so it is unclear

   who is going to coordinate this training for the new members or guide the

   Commission’s map-drawing activities.

         The need for a professional mapmaker in the form of an experienced special

   master is critical. As this Court observed, the nascent Redistricting Commission was

   comprised of Michigan citizens “who came to their task with no experience in redis-



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   tricting and no knowledge of election law.” Op., p. 1, PageID.4704. The

   Commissioners admitted at trial that they relied heavily on experts. Per

   Commissioner Erin Wagner: “we were 13 citizens that didn’t know what we were

   doing, and so we were looking to people . . . we were told were experts, so of course

   you’re going to lean on an expert’s opinion.” Op., p. 115, PageID.4818.

         But at this point, no “experts” are left for the Commission to lean on. Adelson

   and Pastula resigned. And while Dr. Handley remains, it was her work that

   disenfranchised Plaintiffs as part of the trio who “expressly told the commissioners,

   scores if not hundreds of times, to sort Detroit-area voters into different districts by

   race[]” and to “limit the ‘black voting age population’—known as the ‘BVAP’ in

   redistricting jargon—to approximately 35–45%”—a proposition that is “without

   support in the Supreme Court’s VRA caselaw.” Id. at PageID.4704–05. The lack of a

   VRA attorney is especially problematic because VRA compliance does not disappear

   for the revised maps; it is still a constitutionally mandated criterion.10 Yet the

   Commission is not nimble regarding the hiring of experts. It must follow the public

   Request for Proposal (“RFP”) process applicable to all State contracts. Conversely,

   this Court can simply order this expert guidance in the form of a special master.

         Another issue that militates strongly in favor of having a special master control

   the map-drawing process instead of inexperienced Commissioners is that the next




   10 See Mich. Const. Art. IV, § 6(13)(a) (“The commission shall abide by the following

   criteria in proposing and adopting each plan . . . Districts shall be of equal population
   as mandated by the United States constitution, and shall comply with the voting
   rights act and other federal laws.”).

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   round of mapping will be even more complex than the last one. Certain districts are

   either wedged in between two that have been invalidated or are adjacent to one that

   was invalidated (for example, House Districts 13 and 25) and those districts may also

   need to be revised in order to achieve compliant maps.11 For example, in Bethune-

   Hill, 368 F. Supp. 3d at 373, the Court invalidated 11 districts as racial gerrymanders

   in violation of the Equal Protection Clause and appointed a special master “to assist

   [the Court] in preparing a remedial plan.” But given the overlap between districts,

   the plan ultimately approved contained changes to more than double the amount of

   districts that were originally invalidated—25. Id. at 881 n. 12. Here, an expert

   cartographer can minimize the impact to surrounding districts and avoid wildly

   expanding the scope of the revisions. As an example only, a set of remedial maps

   developed by Plaintiffs’ expert, Sean Trende—an experienced mapmaker who has

   previously served as a special master in redistricting litigation—demonstrates it is

   feasible to draw compliant, race-blind maps (with minimal impact to the surrounding

   districts) in less than five hours. (Ex. B, Trende’s Declaration and Sample Maps).

         Judge Neff sympathetically observed that the Commission had “no history to




   11 Bethune-Hill, 368 F. Supp. 3d at 877–78 (reasoning that “eleven invalidated dis-

   tricts are located in four distinct groupings, and some . . . are adjacent to one another.
   The invalidated districts themselves frequently span multiple municipalities, and
   many cities and counties have been split between invalidated districts and
   surrounding non-challenged districts. In choosing a remedial plan, we endeavor to
   minimize the number of districts affected by our revisions, recognizing that districts
   immediately adjacent to the districts may be subject to significant changes.”) (citing
   Abrams v. Johnson, 521 U.S. 74, 86 (1997) (affirming the propriety of remedial maps
   that change districts even if not directly invalidated by the court to the extent
   necessary to ensure compliance with legal requirements)).

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   follow or learn from and no role model to lead the way and to set a standard.” Opinion,

   Op., p. 116, PageID.4819. A special master would supply precisely that guidance and

   leadership now.

          (3) The State Needed the Final Maps Ready In December—Four
              Months Before the Primary—Thus, the Parties Are Already Behind.

          According to the Secretary of State, updates to the “qualified voter files” (or

   “QVF”) need to be completed “in time to accommodate candidates seeking to run in

   the relevant primary election cycle.” (ECF No. 113, PageID.3816–17). This process

   takes the Bureau of Elections “about four months” and the deadline for candidates

   seeking to run for the House this year is April 23, 2024. Id. Thus, working backward,

   the State should have started working with compliant maps on December 23—two

   weeks ago. Indeed, in the last election cycle, “[s]hortly after the Commission adopted

   the plans in December 2021, the Bureau began working to update the QVF.” Id. That

   means that in the last election, the State had already begun its election preparations

   at this point.

          The Secretary of State acknowledged in her post-trial brief that “the window

   for granting any relief effective to the 2024 cycle is closing fast,” and “unless relief is

   ordered quickly, the Secretary does not believe it remains possible for the voter list

   to be updated to implement new plans in time for the 2024 election cycle.” Id.,

   PageID.3818. Otherwise, this Court may also have to move election deadlines, which

   could wreak further havoc.12 The Court’s appointment of a special master now


   12 E.g.,Sixty-Seventh Minnesota State Senate v. Beens, 406 U.S. 187, 201 (1972)
   (discussing election deadlines and noting “[i]f time presses too seriously, the District
   Court has the power appropriately to extend the time limitations imposed by state

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   increases the likelihood that such disruption and voter confusion can be avoided.

   Accordingly, the Court should appoint a special master and largely bypass the

   Commission (with the exception of collaborative work processes) in the interest of

   time given the upcoming election. E.g., Covington, supra; Rodriguez v. Pataki, 207 F.

   Supp. 2d 123, 125 (S.D.N.Y. 2002) (appointing special master five months before a

   primary and observing that the “eleventh hour is upon us, if indeed has not already

   passed”).

         (4) Despite Looming Election Deadlines, the Commission Has Not
             Committed to Re-Engage in Map-Drawing.

         The Commission is moving at a glacial pace with zero urgency. For example,

   the Commission—knowing full well the Court’s decision would be handed down any

   day—adopted a meeting calendar in mid-December that set just one meeting in each

   of the months of January and February. (Ex. G, MICRC 12/14/23 Agenda and 2024

   Calendar). The newly adopted 2024 Meeting Calendar currently has no special

   meetings set for possible map revisions. Id. At the meeting held December 28, 2023,

   no special meetings were discussed.13 When Chair Szetela and Commissioners Lange

   and Wagner advocated for “fixing” Detroit due to the Court’s decision, they were

   quickly sidelined, and the Commission instead went into closed session to discuss an

   appeal. When it re-entered the public meeting, the Commission had lost so many

   members that it lacked a quorum and could not vote on anything—not an appeal, not


   law.”); Larios v. Cox, 305 F. Supp. 2d 1335, 1342-43 (N.D. Ga. 2004) (the “court has
   broad equitable power to delay certain aspects of the electoral process if necessary”
   in a racial gerrymandering suit).
   13   A video of the Commission’s last meeting is available at:
   https://www.youtube.com/watch?v=AywyjLrqJoI, last visited December 30, 2023.

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   special meeting dates, and certainly not a strategy to deal with a re-mapping process.

   The Court should rely primarily on a special master as set forth in Plaintiffs’ proposed

   Special Master Appointment Order, which contains all requirements under Fed. R.

   Civ. 53(b)(2).14 (See Ex. A, Proposed Appointment Order).

   B.    The Court Should Order Special Elections for the Re-drawn Senate
         Districts.

         When constitutional voting rights are infringed, the Court “has not merely the

   power but the duty to render a decree which will so far as possible eliminate the

   discriminatory effects of the past as well as bar like discrimination in the future.”

   Louisiana v. U.S., 380 U.S. 145, 154 (1965) (emphasis added). “‘It is within the scope

   of [a court’s] equity powers to order a governmental body to hold special elections’ to

   redress constitutional violations.” League of Women Voters of Michigan v. Benson,

   373 F. Supp. 3d 867, 961 (E.D. Mich.), vacated on other grounds, quoting Arbor Hill

   Concerned Citizens v. Cty. of Albany, 357 F.3d 260, 262 (2d Cir. 2004) (reversing

   district court’s order that refused to hold special election and requiring county to hold

   special election after district court invalidated electoral maps as violative of the VRA);



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     Plaintiffs submit that any of the following individuals would be qualified to serve in
   this role: (1) Matt Rexroad, Fabian Valdez, or Ryan Gardiner from the Redistricting
   Insights firm, (2) Paul Mitchel or Liz Stitt from the Redistricting Partners firm; or
   (3) Professor M.V. Trey Hood III from the School of Public and International Affairs
   at the University of Georgia. Plaintiffs have not reached out to these individuals to
   determine if they are interested to limit ex parte contact with the potential special
   masters. The Plaintiffs would also stipulate to the appointment of two special
   masters, as joint special masters have been utilized in other cases. See Ex. H, In re
   Decennial Redistricting Pursuant to The Constitution of Virginia, Redistricting
   Appointment Order dated Nov. 19. 2021 (order appointing Sean Trende and Bernard
   Grofman as co-special masters); Singleton v. Merrill, Case No. 21-cv-1291, Order
   Appointing Special Master and Appointing Expert Cartographer dated Feb. 7, 2022.

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   Marks v. Stinson, 19 F.3d 873, 889 (3d Cir. 1994) (holding that “[i]f the district court

   finds a constitutional violation, it will have authority to order a special election”

   regarding state senate district); Griffin v. Burns, 570 F.2d 1065, 1080 n.15 (1st Cir.

   1978) (affirming district court’s power to “call a special election” to remedy

   constitutional violation to voting rights); Ketchum v. City Council of City of Chicago,

   Ill., 630 F. Supp. 551, 565 (N.D. Ill. 1985) (“Federal courts have often ordered special

   elections to remedy violations of voting rights. Prospective relief alone is ‘of little

   consequence to the many voters who sought to vote… and could not do so effectively.’”)

          Courts weigh three factors in considering whether to order a special election:

   (1) “the severity and nature of the particular constitutional violation”; (2) “the need

   to act with proper judicial restraint when intruding on state sovereignty”; and (3) “the

   extent of the likely disruption to the ordinary processes of governance if early

   elections are imposed.” North Carolina v. Covington, 581 U.S. 486, 488 (2017).

          The first factor weighs strongly in favor of special Senate elections here. “[T]he

   right to exercise the franchise in a free and unimpaired manner is preservative of

   other basic civil and political rights.” League of Women Voters, 373 F.Supp.3d at 958

   (finding the nature of the constitutional violation “extremely grave” where the

   gerrymandering “subverts the fundamental purpose of legislative apportionment”

   which is to provide “fair and effective representation for all citizens”) (citing Reynolds,

   377 U.S. at 562).

          On the second factor, “in cases involving unconstitutional burdens on the right

   to vote . . . numerous courts . . . have concluded that shortening the terms of elected



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   officials and ordering a special election does not unduly intrude on state sovereignty,

   particularly when the constitutional violation is widespread or serious.” Covington,

   270 F. Supp. 3d at 896. In League of Women Voters, 373 F. Supp. at 959, the Court

   specifically held that shortening a Michigan senator’s term of office was not unduly

   intrusive, reasoning “[w]e similarly find that the fact that a special Senate election

   would truncate the four-year terms of senators is not ‘unduly intrusive’ given the

   gravity and extent of the constitutional violations at issue in this case” because

   “[w]hile senators may be disappointed that their four-year terms will be reduced to

   two years, the sentiment of the legislators elected under an unconstitutional appor-

   tionment plan does not outweigh the constitutional rights of millions of Michiganders

   to elect their senators under constitutional maps.”

         Lastly, where (as here) the normal election cycle already provides for an

   election of some kind, the “disruption” factor is nil. In League of Women Voters, just

   like this case, the request was merely to “order a special Senate election on the same

   date as the regularly scheduled general elections in November 2020” so “[n]o

   additional election would be scheduled; voters would simply cast their votes for one

   additional office on election day (both in the primary and in the general election).”

   League of Women Voters, 373 F. Supp. at 959. Because “the special Senate election

   would occur on a regular election day and at a regularly scheduled interval, it would

   not result in any additional election being held during the calendar year, and there

   would little risk of voter confusion or low turnout.” Id.

         The next regularly schedule election for the Michigan House will occur on



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   August 6, 2024, but the Senate election is not scheduled until two years later (in

   2026). If the Court leaves the current schedule in place, Plaintiffs (and other Black

   voters) will remain disenfranchised in the Senate for two additional years. It would

   be unconscionable to Plaintiffs and Black voters in Detroit to saddle them with

   candidates selected through a racially gerrymandered process. Accordingly, the Court

   should order the State to hold a special election in 2024 for the Senate.

                                                  Respectfully submitted,

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